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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


    UNITED STATES OF AMERICA
    v.                                         CASE NO. 8:18-cr-234-T-35SPF
    ALLAN BURT GUINTO
              UNITED STATES’ SENTENCING MEMORANDUM
               IN SUPPORT OF THE PRESENTENCE REPORT

          On September 25, 2018, a federal grand jury returned a second

    superseding indictment in this case. Doc. 136. In relevant part, Counts One

    through Four charged the defendant, Allan Burt Guinto, with conspiracy to

    commit murder, murder, and firearms offenses related to the homicide of Paul

    Anderson, and Count Eight charged Guinto with accessory after the fact in

    relation to the attempted homicide of James Costa. Id.

          Guinto began cooperating with law enforcement immediately after his

    arrest on December 22, 2017. Guinto provided a sworn statement to state

    prosecutors on February 8, 2018, and he testified before a federal grand jury

    on April 24, 2018. On January 17, 2019, Guinto pled guilty to Counts One,

    Two, and Eight. Doc. 228. On February 14, 2019, the Court accepted

    Guinto’s plea and adjudicated him guilty. Doc. 242.
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           Guinto also testified at the July 2019 trial of his codefendants,

    Christopher Cosimano and Michael Mencher. Both Cosimano and Mencher

    were convicted and face mandatory life sentences. Docs. 381-382. In

    recognition of Guinto’s cooperation, on September 10, 2019, the Government

    filed a motion requesting a four-level reduction in his offense level. Doc. 407.

          Guinto is scheduled to be sentenced on September 17, 2019. Doc. 242.

    Prior to any consideration for his cooperation, Guinto’s faces a sentencing

    range of life in prison, one to five years of supervised release, a fine of $50,000

    to $250,000, and a $300 special assessment. Doc. 395. There are no

    unresolved objections by the Government or defense counsel as to the

    presentence report or the application of the guidelines. Id. In light of the

    factors set forth in 18 U.S.C. § 3553(a), the Government seeks a sentence in

    accordance with the guidelines reflected in Guinto’s presentence report.

                                             Respectfully submitted,

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                                             United States Attorney

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                            CERTIFICATE OF SERVICE

          I hereby certify that on September 11, 2019, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system, which

    will send a notice of electronic filing to counsel of record.

                                             /s/ Carlton C. Gammons
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